            Case 3:24-cr-00546-LS       Document 5        Filed 03/04/24     Page 1 of 2



                                   United States District Court
                                    Western District of Texas
                                        El Paso Division

UNITED STATES OF AMERICA,                                       EP-24-MJ-00945-ATB
     Plaintiff,

       v.

JAVIER CARDOZA RODRIGUEZ,
     Defendant.

                      United States' Motion to Detain Defendant Without
                              Bond and Motion for Continuance

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C. § 3142(e) and (f), files this, its Motion

to Detain Defendant Without Bond and Motion for Continuance, and for cause, would

respectfully show unto the Court the following:

       1.       The Defendant was arrested for a violation of Title 21, United States Code,

Sections 841 and 846, Conspiracy to Possess with Intent to Distribute a Controlled Substance

(Count 1), and Title 8, United States Code, Section 1325(a)(1), Improper Entry by an Alien

(Count 2).

       2.       The Defendant is charged with a violation of the Controlled Substances Act which

carries a term of imprisonment of over ten (10) years.

       3.       The Defendant has a prior criminal history.

       4.       The Defendant is a foreign national and cannot demonstrate sufficient

employment, length of residence in the community, or community ties, and, as such, presents a

high risk of fleeing the jurisdiction to avoid prosecution on this charge.

       5.       There are no conditions or combination of conditions which will reasonably

assure the safety of the community should the Defendant be released on bond.
            Case 3:24-cr-00546-LS      Document 5        Filed 03/04/24   Page 2 of 2




       6.       There are no conditions or combination of conditions which will reasonably

assure the appearance of the Defendant at future court settings.

       The Government would further move the Court for a three day continuance of the

detention hearing from the date of the initial appearance.

       WHEREFORE, premises considered, the Government respectfully prays the Court to

hold the above-named Defendant without bail pending the final outcome of this case.

                                              Respectfully submitted,

                                              JAIME ESPARZA
                                              UNITED STATES ATTORNEY


                                      By:     _________________________________
                                              KYLE MYERS
                                              Assistant U.S. Attorney
                                              Texas Bar #24049933
                                              700 E. San Antonio, Suite 200
                                              El Paso, Texas 79901
                                              (915) 534-6884




                                                 2
